

Per. Curiam.

No question of abuse of discretion in granting the new trial being involved, the judgment of the Court of Appeals is reversed and the cause remanded to that court with instructions to dismiss the *118appeal for want of jurisdiction, on authority of Green v. Acacia Mutual Life Ins. Co., ante, 1.

Judgment reversed.

Weygandt, C. J., Zimmerman, Stewart, Middleton, Taet, Matthias, and Hart, JJ., concur.
Zimmerman, Matthias, and Hart, JJ., although adhering to their views as announced in the Green case, supra, that Section 12223-2, General Code, is not in conflict with Section 6 of Article IV of the state Constitution, accord the decision and judgment of this court therein due recognition, and, therefore, only to avoid the chaotic condition which would result from a situation, created by the provisions of Section 2 of Article IV of the state Constitution, that a law would be valid in some appellate districts but invalid in other appellate districts, and for the sole purpose'of assuring uniformity of procedure in our courts, concur in the reversal of the judgment of the Court of Appeals.
